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     ESTABAN DIAZ-SOTO
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                       ) Case No.: 19-CR-00242-NONE-SKO
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                   Plaintiff,                        ) DEFENDANTS REQUEST AND WAIVER
                                                       ) OF APPEARANCE; AND ORDER
12           vs.                                       )
                                                       )
13   ESTABAN DIAZ-SOTO,                                )
                                                       )
14                   Defendant                         )
15   Defendant, ESTABAN DIAZ-SOTO, hereby waives his appearance in person in open court upon
16   the Motion for Bail Review Hearing set for Wednesday, May 13, 2020 of the above entitled
17   court. Defendant hereby requests the court to proceed in his absence and agrees that his interest
18   will be deemed represented at said hearing by the presence of his attorney, DAVID A. TORRES
19   and/or his associate. It is defense counsels understanding that all federal inmate that are currently
20   housed in the Lerdo Facility are under quarantine. Defendant further agrees to be present in
21   person in court at all future hearing dates set by the court including the dates for jury trial.
22   Date: May 5, 2020                                               /s/Estaban Diez-Soto_____
23
                                                                     Estaban Diaz-Soto

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25
     Date: May 5, 2020                                               /s/David A. Torres_____
                                                                     DAVID TORRES,
                                                                     Attorney for Defendant



                                         Summary of Pleading - 1
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 1                                             ORDER

 2          Good cause appearing.

 3          IT IS HEREBY ORDERED that defendant Estaban Diaz-Soto is hereby excused from

 4   appearing at this court hearing scheduled for Wednesday, May 13, 2020.
     IT IS SO ORDERED.
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 6      Dated:    May 5, 2020                              /s/ Barbara A. McAuliffe   _
                                                    UNITED STATES MAGISTRATE JUDGE
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                                      Summary of Pleading - 2
